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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

  CARJUAN D. ADKINS,                            )
                                                )
                 Plaintiff,                     )
                                                )
  vs.                                           )      Case No. 20-cv-986-JPG
                                                )
  RICHARD WATSON,                               )
  TRINITY SERVICE GROUP, and                    )
  DAVID MARCOWITZ,                              )
                                                )
                 Defendants.                    )      JURY TRIAL DEMANDED

              DEFENDANT’S OBJECTION TO MOTION TO INTERVENE

         COMES NOW Defendant, Sheriff Richard Watson, by and through his counsel

  of BECKER, HOERNER, & YSURSA, P.C., and for his Objection to Motion to Intervene,

  states as follows:

         1.      On January 8, 2021, Cameron Belk filed a Motion to Intervene in this

  matter, naming other persons in the motion. (Doc.25)

         2.      The Motion to Intervene fails to identify the grounds or legal basis that

  would call for intervention, including whether the Motion seeks permissive intervention or

  intervention as of right. Federal Rule of Civil Procedure 24.

         3.      Indeed, the Motion to Intervene is not addressed to the claims remaining in

  this case, but to counts that have been dismissed. (Doc. 12)

         4.      The Motion to Intervene is addressed to Counts 5, 6 and 7 - each of which

  was dismissed in the Order entered on preliminary review under 28 U.S.C. § 1915A, (Doc.

  12).




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         5.      Additionally, the movant, Cameron Belk, has filed numerous actions before

  this Court and the Circuit Court of St. Clair County, Illinois, with such actions both

  indicating the lack of justification for intervention in this case to protect his interests and

  displaying a misunderstanding of the process of intervention.

         6.      The movant, Cameron Belk, has a current action pending before this Court,

  including a Third Amended Complaint which contains 10 counts, in which he has been

  appointed counsel. (Cameron Belk, Sr. vs. Richard Watson, et al., SDIL No. 19-cv-499-

  JPG)

         7.      Furthermore, the movant, Cameron Belk, had a previous action making at

  least 19 requests regarding conditions which was dismissed by the Circuit Court of St. Clair

  County. (Cameron Belk vs. St. Clair County Jail, Sheriff Richard Watson, et al., St. Clair

  County, IL No. 19-L-378)

         8.      The movant, Cameron Belk, has also attempted to intervene in at least one

  prior matter before this Court which was denied sua sponte. (George Most vs. Sheriff

  Watson, SDIL No. 3:20-cv-493-NJR Doc. 34)

         9.       The movant, Cameron Belk, has also filed a Motion to Intervene in other

  pending actions. (Shane A. Kitterman vs. Brendan Kelly, et al., SDIL No. 20-cv-500-MAB

  Doc.43)

         10.     There is no legal basis for the intervention, the Defendant would be

  prejudiced by intervention and the interests of justice and judicial economy call for the

  Motion to Intervene to be promptly denied.




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         WHEREFORE, the Defendant, Sheriff Richard Watson, objects to the Motion to

  Intervene and requests this Court to enter an Order denying the Motion to Intervene, and

  for such other relief as the Court deems just and proper.

                                        BECKER, HOERNER & YSURSA P.C.



                                        By:     Thomas J. Hunter, Bar No. 6256119

  ATTORNEY FOR DEFENDANT:

  BECKER, HOERNER & YSURSA, P.C.
  5111 West Main Street
  Belleville, Illinois 62226
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                               CERTIFICATE OF SERVICE

           I hereby certify that on January 21, 2021, I electronically filed this document with
  the Clerk of the Court using the CM/ECF system which will send electronic notice of such
  filing to all attorneys of record, and have further forwarded a copy to pro se Petitioner for
  intervention, via Regular Mail, at the address provided in this case, to wit:

  Pro Se Petitioner for Intervention:

  LEGAL MAIL
  Cameron Belk, Sr., #468008
  St. Clair County Jail
  700 North 5th Street
  Belleville, IL 62220


                                                        s/ Thomas J. Hunter




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